Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 1 of 17




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                    CASE NO.:      20-cv-82227-DMM

   IS PRIME RISK SERVICES, INC. n/k/a
   IS RISK ANALYTICS, INC.,

                   Plaintiff,
   v.

   NAUMAN ANEES,

               Defendant.
   _________________________________/

                          DEFENDANT NAUMAN ANEES’ VERIFIED
                         MOTION FOR ATTORNEYS’ FEES AND COSTS

           Defendant NAUMAN ANEES (“Mr. Anees”), pursuant to Fla. Stat. § 542.335(1)(k), Local

   Rule 7.3 and Fed. R. Civ. P. 54(d), respectfully requests an order requiring Plaintiff IS PRIME

   RISK SERVICES, INC. n/k/a IS RISK ANALYTICS, INC.’s (“IS Risk”) to repay a portion of the

   attorneys’ fees and costs incurred in defending this action in the amount of $42,653 (includes $402

   in taxable costs).1

                                           INTRODUCTION

           Mr. Anees seeks an award of his fees and costs pursuant to the Florida Noncompete Statute

   under which Plaintiff brought suit, Fla. Stat. § 542.335(1)(k) (the “Noncompete Statute”). Mr.

   Anees is entitled to his fees as the prevailing party because IS Risk voluntarily dismissed its claims

   against Mr. Anees. To obtain the dismissal, Mr. Anees was forced to file substantial, dispositive

   motions addressing both procedural and substantive deficiencies with IS Risk’s ultimately



   1
    Mr. Anees has contested personal jurisdiction in Florida. (See ECF No. 14 at 5-9.) By filing this
   defensive motion, Mr. Anees does not concede personal jurisdiction in this court or in Florida and
   reserves all rights and defenses, facts, arguments, and/or objections to such jurisdiction in Florida.
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 2 of 17




   abandoned complaints, which IS Risk improperly filed against him personally in a venue far from

   his home and in a court that lacked jurisdiction over him.

           This case was about IS Risk’s tactical harassment of Mr. Anees with a personal lawsuit in

   an ill-conceived attempt to gain unfair competitive leverage over the business for which he serves

   as CEO, TF Global Marks (Aust) Limited (“TF Aust”). It was, moreover, the latest in a string of

   litigation in the United Kingdom and the United States that IS Risk and a related company owned

   by its parent, ISAM Funds (UK) Limited (“ISAM”), (IS Risk and ISAM are collectively the “IS

   Group”) have initiated against TF Aust and its related companies (collectively, “TF Global”) in

   recent years to, among other things, stifle competition between the IS Group and TF Global. This

   case was the only one that IS Group initiated against Mr. Anees in his individual capacity.

           More than four years ago on January 19, 2017, TF Aust’s subsidiary, Think Liquidity LLC

   (“TL”), sold a discrete line of business in the financial services and fintech industries to IS Risk

   pursuant to the Asset Purchase and Sale Agreement (“APSA”) (Exhibit A to the Amended

   Complaint, ECF No. 10-1). The line of business sold involved “risk management services,

   MT4/hosting services, and STP bridging services,” and an alleged noncompete provision in the

   APSA restricted only these three services for four years. See APSA, § 4.3(a). The noncompete

   restrictions in the APSA forever and completely expired on January 19, 2021. See APSA, § 4.3(a).

           After three years and nearly ten months elapsed on the alleged four-year, limited restrictive

   covenant, IS Risk improperly sued Mr. Anees, without any pre-suit notice or attempted

   negotiation. IS Risk did so based on the alleged acts of TF Aust and on IS Risk’s opportunistic

   misreading of a TF Aust related website, liquidity.net.          Mr. Anees has consistently and

   unequivocally maintained that IS Risk’s claims were not viable, but IS Risk persisted, requiring

   Mr. Anees to engage in costly litigation in this federal court, which IS Risk ultimately dismissed.


                                                    2
   #83406408_v3
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 3 of 17




                                      PROCEDURAL HISTORY

           IS Risk filed this unsupportable lawsuit in state court on November 2, 2020, without prior

   notice, in violation of the arbitration clause of the APSA and without personal jurisdiction. IS

   Risk sought injunctive relief, declaratory relief and damages. Though IS Risk was in continual

   contact with TF Aust’s lawyers regarding another ongoing litigation between IS Risk and TF Aust,

   it provided no notice of this new action and instead served Mr. Anees with process shortly before

   the Thanksgiving holiday at his home during the COVID-19 pandemic, with papers seeking

   immediate injunctive relief. Mr. Anees timely removed this action to this Court on December 8,

   2020 [ECF No. 1], and moved to dismiss the complaint on December 15, 2020 for lack of personal

   jurisdiction, failure to arbitrate, and failure to state a claim [ECF No. 3]. After indicating that it

   would respond to the motion to dismiss, and requesting an extension of time to respond to it that

   Mr. Anees did not oppose, IS Risk instead filed an amended complaint. IS Risk withdrew its claim

   for injunctive, declaratory, and equitable relief in apparent recognition of the defectiveness of those

   ill-conceived claims, but added additional allegations that had little to do with Mr. Anees,

   individually, and did not cure the matters raised in the pending motion to dismiss.

           Accordingly, IS Risk persisted against Mr. Anees individually, even though the restrictions

   had expired, by continuing to assert that its purported damages claim could proceed in this court

   [ECF No. 10]. Mr. Anees was forced to address the deficiencies in the complaint for a second

   time. IS Risk then attempted to stave off dismissal by seeking to compel its own claims to

   arbitration and to stay this case pending arbitration – a requirement IS Risk willfully ignored for

   more than two months [ECF No. 12]. Mr. Anees opposed the stay and sought dismissal of the

   Amended Complaint again for lack of personal jurisdiction, failure to arbitrate, and failure to state

   a claim [ECF No. 15]. After receiving an extension of time to respond to Mr. Anees’ second motion


                                                     3
   #83406408_v3
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 4 of 17




   to dismiss, and on the deadline for its reply in support of its motion for stay, IS Risk voluntarily

   dismissed this lawsuit without prejudice on February 1, 2021 [ECF No. 18]. Pursuant to Local

   Rule 7.3, this Motion for fees is timely filed.

                                               ARGUMENT

     I.      MR. ANEES IS ENTITLED TO RECOVER ATTORNEYS’ FEES AND COSTS
             UNDER THE NONCOMPETE STATUTE

             Under Florida law, a prevailing party may recover attorney’s fees and costs where there is

   a statutory basis for doing so, and the language of the statute is the starting point for the

   determination as to prevailing party and an award of fees. Trytek v. Gale Indus., Inc., 3 So. 3d

   1194, 1198 (Fla. 2009). Here, IS Risk asserted claims against Mr. Anees under the Noncompete

   Statute which authorizes prevailing parties, like Mr. Anees, to seek recovery of reasonable

   attorneys’ fees and costs in connection with any “action seeking enforcement of, or challenging

   the enforceability of, a restrictive covenant.” Fla. Stat. § 542.335(1)(k). Mr. Anees satisfies all

   requirements for entitlement to his reasonable fees and costs, and is entitled to a full recovery.

          A. Mr. Anees is a Prevailing Party Entitled to Attorney’s Fees and Costs

             Federal courts apply state substantive law to determine issues relating to prevailing party

   status and entitlement for attorneys’ fees when exercising diversity jurisdiction. See Nukote Intern,

   Inc. v. Office Depot, Inc., 09-82363-CIV, 2010 WL 4942838, at *1-2 (S.D. Fla. Nov. 30, 2010).

   Mr. Anees is the prevailing party in this case because all claims against him were dismissed. A

   dismissal is a dismissal, and a plaintiff’s voluntary dismissal of a lawsuit entitles the defendant to

   “prevailing party” fees and costs where a statute so provides. See Thornber v. City of Fort Walton

   Beach, 568 So. 2d 914, 919 (Fla. 1990) (“when a plaintiff voluntarily dismisses an action, the

   defendant is the prevailing party.”); Nukote Intern, 2010 WL 4942838, at *1-2 (same); Alhambra



                                                      4
   #83406408_v3
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 5 of 17




   Homeowners Ass’n v. Asad, 943 So. 2d 316, 318 (Fla. 4th DCA 2006) (defendant was the

   prevailing party under condominium statute after voluntary dismissal).

           The potential for later re-filing claims does not impact the fees and cost analysis. See

   Nukote Intern, Inc., 2010 WL 4942838, at *2 (potential for re-filing inconsequential to attorneys’

   fees award); Alhambra Homeowners Ass’n, Inc., 943 So. 2d at 317 (same).

           Here Mr. Anees is the prevailing party because IS Risk dismissed its claims. Accordingly,

   Mr. Anees is entitled to recover its attorney’s fees and costs.

       B. Mr. Anees is Entitled to Attorney’s Fees and Costs Under the Noncompete Statute

           Mr. Anees is entitled to recovery his attorneys’ fees pursuant to the Noncompete Statute,

   which provides that “[i]n the absence of a contractual provision authorizing an award of attorney’s

   fees and costs to the prevailing party, a court may award attorney’s fees and costs to the prevailing

   party in any action seeking enforcement of, or challenging the enforceability of, a restrictive

   covenant.” Fla. Stat. § 542.335(1)(k) (2020). While awards under this statute are permissive,

   courts generally do award fees pursuant to this statute. See Mobile Shelter Systems USA, Inc. v.

   Grate Pallet Solutions, LLC, No. 3:10-cv-978-J-37JBT, 2013 WL 3815595, at *3-4 (M.D. Fla. Jul.

   22, 2013) (“a review of Florida case law concerning this provision reveals that Florida’s courts

   have not hesitated to enter such an award if authorized to do so.”). Further, because IS Risk sought

   to enforce a restrictive covenant in the APSA and IS Risk itself sought fees in its complaint under

   this very same Noncompete Statute [ECF No. 10, “Wherefore” clause], its voluntary dismissal

   entitles Mr. Anees to prevailing party attorneys’ fees and costs. Id.; see Proudfoot Consulting Co.

   v. Gordon, No. 06-80959-CIV-MARRA/JOHNSON, 2011 WL 13174657, at *2-3 (S.D. Fla. Feb.

   25, 2011) (awarding attorneys’ fees to the prevailing party under Fla. Stat. 542.335(1)(k)); see also

   Puleo v. Morris, 98 So. 3d 248, 250 (Fla. 2d DCA 2012).


                                                     5
   #83406408_v3
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 6 of 17




             This Court should award Mr. Anees the attorneys’ fees sought because Mr. Anees

   prevailed. Furthermore, IS Risk brought its untenable litigation as a means of stifling competition

   and/or without sufficient support. And IS Risk improperly brought its claims against Mr. Anees

   individually. Moreover, IS Risk failed to properly assert jurisdiction over Mr. Anees, comply with

   the APSA’s condition precedent to arbitrate, and failed to set forth a viable claim under the

   Noncompete Statute. Thus, IS Risk should be ordered to pay Mr. Anees’ fees and costs.

    II.      THE ATTORNEY’S FEES AND COSTS SOUGHT ARE REASONABLE
             AND NECESSARY

          A. Standard for Determining Reasonableness of Fee and Cost Award

             In analyzing an award of attorneys’ fees pursuant to a state statute, this Court employs the

   lodestar test. See Chavez v. Mercantil Commercebank, N.A., No. 10-23244-Civ., 2015 WL 136388

   (S.D. Fla. Jan. 9, 2015) (stating that the lodestar test is used in cases governed by state law because

   Florida has adopted the federal lodestar approach) (citing Fla. Patient’s Comp. Fund v. Rowe, 472

   So.2d 1145, 1150 (Fla. 1985)). The lodestar test is a calculation of “the hours reasonably expended

   by counsel multiplied by a reasonable hourly rate.” Cuban Museum of Arts & Culture v. City of

   Miami, 771 F. Supp. 1190, 1191 (S.D. Fla. 1991); Norman v. Haus. Auth. of Montgomery, 836

   F. 2d 1292, 1299 (11th Cir. 1988). “A reasonable hourly rate is the prevailing market rate in

   the relevant legal community for similar services by lawyers of reasonably comparable skills,

   experience, and reputation.” Norman, 836 F. 2d at 1299. In determining the reasonable market

   rate, the Court may consider several factors, including:

                  (1) the time and labor required, (2) the novelty and difficulty of the
                  questions, (3) the degree of skill necessary to serve the client properly, (4)
                  the attorney’s inability to accept other employment because he accepted
                  the case, (5) the customary fee, (6) whether the fee is fixed or contingent,
                  (7) time limitations imposed by the client or the circumstances, (8) the
                  amount of damages involved and the relief or results obtained, (9) the
                  experience, reputation, and ability of the attorneys, (10) the “undesirability”
                                                        6
   #83406408_v3
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 7 of 17




                  of the case, (11) the nature and length of the attorney’s professional
                  relationship with the client, and (12) awards in similar cases.

   Schajler v. Fairway Park Condo. Ass’n, 147 F. App'x 113, 115 (11th Cir. 2005) (citing Johnson

   v. Ga. Highway Express, Inc., 488 F. 2d 714, 717-19 (5th Cir. 1974)).

           While consideration of nearly all of these factors support the relief requested herein, Mr.

   Anees highlights two highly relevant factors – the time limitations imposed by the client or the

   circumstances, given the injunctive relief threatening shutdown of a website, and the amount

   of damages involved given the threat to shut down the website. As referenced above, Mr.

   Anees, the CEO of TF Aust, was served just before Thanksgiving with a complaint that

   sought to enjoin operation of the liquidity.net website, and thus threaten TF Aust’s business.

   The immediate need for counsel to invest significant hours at the outset of this action to

   learn about the client’s business and the jurisdictional issues as well, support the full fee

   award sought.

           Mr. Anees’ demand for $42,251 in fees incurred in this action is based on reasonable

   market hourly rates and a reasonable number of hours expended. Mr. Anees engaged counsel

   who was experienced and competent in the specialized areas of law at issue, and defended

   itself against IS Risk's baseless and overreaching claims. IS Risk has no one but itself to

   blame for the amount of fees and costs being sought for recovery.

       B. Analysis of Fees Charged

           Mr. Anees is seeking to recover $42,251 in attorneys' fees incurred in this litigation.2

   Holland & Knight (“H&K”) provided legal representation to Mr. Anees from November 2020



   2
    Mr. Anees reserves the right to seek fees for the amounts spent litigating entitlement that
   have been incurred since initially serving this Motion on IS Risk. Mr. Anees will supplement
   this Motion with that information.
                                                   7
   #83406408_v3
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 8 of 17




   through present day, which fees were paid on behalf of Mr. Anees. H&K strived to perform

   the requisite work in the most cost-effective manner. Non-partners were used to complete

   significant portions of the work at lower hourly rates. Additionally, discounted rates were

   provided to Mr. Anees that were below the standard and customary rates of the attorneys

   working on the case. H&K as a firm, and Matthew Zimmerman, Philip Rothschild, and

   Courtney Oakes as the attorneys who worked on this matter, are experienced, capable, and

   effective attorneys with good reputations. A true and correct copy of each of their biographies

   is attached hereto as composite Exhibit A.

           H&K has effectively advocated and achieved a favorable result for Mr. Anees through

   the voluntary dismissal of all claims following two motions to dismiss Plaintiff’s claims,

   among the other required tasks described below and in the invoices. H&K has also handled

   the related litigations and arbitrations for TF Aust, an international party. Mr. Anees has

   limited his request for attorneys' fees to an indisputably reasonable amount, and the full

   attorneys' fees and costs sought herein should be awarded.

              i.   Calculation of attorney’s fees

           Below is a breakdown of each billing professional that worked on this matter, along

   with their billing rate, number of hours reasonably expended by each timekeeper, and the

   amount of fees attributed to each professional that Mr. Anees is seeking to recover in this

   Motion. A description of the tasks done during these hours are detailed in the true and correct

   and redacted copies of Holland & Knight’s invoices issued to Mr. Anees are attached as




                                                    8
   #83406408_v3
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 9 of 17




   Composite Exhibit B. No recovery is being sought for fully redacted entries. All attached

   invoices have been paid in full.3


       Timekeeper             Rate                       Hours                  Fees
       Matthew Zimmerman      $625                       20.9                   $13,062
       Philip E. Rothschild   $460                       43.4                   $19,964
       Courtney Oakes         $410                       22.5                   $9,225
       Totals:                                           86.8                   42,251

            The fees were billed in connection with a variety of tasks, including but not limited to:

   (1) analysis of claims against Mr. Anees, including preparation for a possible preliminary

   injunction motion and evidentiary hearing based upon the claim for injunctive relief in the

   initial complaint regarding the restrictive covenant, which necessitated investigation, witness

   interviews, and document review to quickly educate H&K on the business lines allegations

   asserted, (2) research on the claims against Mr. Anees, (3) motion practice including two

   motions to dismiss (the second one necessitated by IS Risk’s filing of its amended complaint)

   and a response to IS Risk’s Motion to Stay Pending Arbitration,4 (4) preparation and

   negotiation of the required Discovery Plan,5 (5) preparation of initial disclosures, including


   3
     Invoices were addressed to TF Aust, but Mr. Anees, Think Liquidity LLC, TF Aust, and TF
   Global Markets (UK) Limited were each jointly and severally responsible for payment of the fees
   incurred to defend Mr. Anees.
   4
    Surprisingly, Plaintiff moved to compel itself to arbitration and stay rather than dismiss this
   action. As explained in both the motion to dismiss and the response to Plaintiff’s motion, despite
   knowing that Plaintiff was bound by an arbitration provision, Plaintiff nevertheless filed suit , and
   yet when faced with the motion to dismiss, sought to compel itself to arbitration and stay the
   matter, necessitating further work by Mr. Anees’s attorneys to oppose the request. Only after Mr.
   Anees filed his response, did Plaintiff finally voluntarily dismiss this action.
   5
     Although custom and practice in this District, typically has the plaintiff take the lead on drafting
   this plan, in this case, based upon the Court’s order that both parties are responsible for compliance
   with the Scheduling Order, and plaintiff’s failure to initiate discussion about timely submission of
   the plan, Mr. Anees’s counsel was forced to take the lead on drafting the plan to comply with the
   December 31, 2020 deadline.

                                                     9
   #83406408_v3
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 10 of 17




   investigation of potential witnesses and documents, and consideration of e-discovery issues

   (6) negotiation initiated by Defendant regarding mediator selection,6 and (7) emails and

   consideration of Plaintiff’s various requests for extensions of time.

              ii.   The fees that Mr. Anees is seeking to recover were reasonable and necessary

           Mr. Anees was billed rates that are reasonable in this jurisdiction and for professionals with

   comparable experience. Holland & Knight is a national law firm with a reputable litigation practice

   in the South Florida community. Lead trial counsel Matthew Zimmerman has extensive and

   unique experience in litigating complex commercial matters, including those involving

   restrictive covenants and claims for injunction relief. Zimmerman has personally handled

   over 100 restrictive covenant matters, including lawsuits in federal and state courts within and

   outside of Florida. These matters involved antitrust claims, acquisitions, foreign entities,

   equity or option agreements, multiple agreements and jurisdictions, and trade secrets claims.

   Zimmerman has handled multiple evidentiary hearings addressing restrictive covenants,

   ranging from a one day to a five day injunction hearing. He also has handled multiple cases

   for international entities and involving the Hague Convention, including a jury trial in a

   commercial case involving several international parties, and a Hague convention abduction

   access hearing/trial. Zimmerman has also handled arbitration matters. Zimmerman has served

   as an in-house litigation counsel for a national company, which included, among other things,

   advising on restrictive covenant matters, acquisitions and arbitration agreements, and has

   represented several financial industry clients in restrictive covenant matters. Zimmerman has




   6
     Again, custom and practice in the Southern District typically has the plaintiff’s counsel reach
   out to start the process on selection of a mediator, but as the deadline approached without any
   outreach by plaintiff’s counsel, counsel for Mr. Anees initiated this process and timely filed the
   notice of selection of mediator.
                                                  10
   #83406408_v3
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 11 of 17




   also spoken and written on restrictive covenant and trade secret matters. Zimmerman is an

   equity partner at Holland & Knight. Zimmerman offered a discounted rate in this matter, and

   the rate charged in this matter are below Zimmerman’s standard rate, below the average hourly

   rate billed for Zimmerman’s work, and lower than other Holland & Knight litigation partners

   in South Florida.

           Philip Rothschild, who handled the lion’s share of the work and also helped oversee the

   case, is a senior counsel with deep experience in a variety of federal court actions. His experience

   includes fourteen years a law clerk in the Southern District of Florida, and ten years in private

   practice. See Composite Exhibit A. He has litigated several dozen actions in federal court in the

   Southern District of Florida, including complex patent, copyright, breach of contract and fraud

   actions, as well as having defended several consumer class actions. He has participated in a

   federal trial of a noncompete action in 2019, and a federal trial of a copyright and breach of

   contract action in 2018. He recently completed a term as President of the Broward Chapter of

   the Federal Bar Association, was an officer of that Chapter for several years, and remains as a

   board member.       He is currently a Vice Chair of the Florida Bar Federal Court Practice

   Committee. His rate in this case has been discounted as well below his standard rate.

           Courtney Oakes is an associate and has been a member of the Florida Bar with over seven

   years of private practice experience. Id. She has litigated hundreds of cases in federal court

   throughout the United States including the Northern, Middle, and Southern Districts of Florida

   involving breach of contract and fraud actions as well as consumer class actions. She has also

   handled about a dozen trials in state court representing banks, servicers, and lenders in various

   capacities. Courtney is also an active member of the Young Lawyers’ Section of the American

   Bar Association, serving as delegate for Broward County.


                                                    11
   #83406408_v3
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 12 of 17




           The rates charged to Mr. Anees are entirely consistent with the rates generally charged

   by other attorneys in the South Florida legal community in similar law firms handling complex

   commercial matters and with similar experience and reputation. On information and belief based

   upon hourly rates publicly filed in unrelated matters, counsel for Mr. Anees believes that the

   additional counsel for Plaintiff who have worked on this matter but not formally appeared have

   much higher rates than Plaintiff’s counsel of record, Mr. Kenwood. During the meet and confer

   process, pursuant to Local Rule 7.3(a), counsel for Mr. Anees requested that counsel for Plaintiff

   handling the fee opposition, Janet Ramsey of the Warner Norcross Judd7 firm in Michigan,

   disclose the rate that she is being compensated at for this case, as well as the rate of Brian Miller,

   a Miami partner at the Akerman firm, who had a telephone conference with counsel for Plaintiff

   Matthew Zimmerman in January to discuss this case and other related litigation between related

   parties. That request was rejected. That information, as well as the same rate information for

   any other attorneys who worked on this matter, should be disclosed with the Plaintiff’s opposition

   to this Motion.8 Plaintiff’s failure to provide this information should result in a waiver of the

   objection to the hourly rates.

           The total number of hours spent during the firm's involvement with this matter, 86.8

   hours, were also reasonable, as reflected by the invoices. See Composite Exhibit B. As



   7
    Mr. Anees reserves and does not waive the right to challenge and object to Warner Norcross +
   Judd LLP’s (“WNJ”) representation of Plaintiff based on a conflict. WNJ provided legal services
   to Think Liquidity LLC (the seller) and its parent TF Global Markets (Aust) Limited in connection
   with the January 2017 transaction that including the same APSA at issue in this case, and has now
   switched sides to represent the Plaintiff (the buyer) in litigation over that same APSA (see e.g.,
   Am. Compl. at ¶¶ 1-5, 10-11, etc.). WNJ never consulted Defendant Anees (or Think Liquidity
   LLC or TF Global Markets (Aust) Limited) before this materially adverse representation of
   Plaintiff, nor does Defendant consent to it.
   8
    “If a party objects to an hourly rate, its counsel must submit an affidavit giving its firm’s hourly
   rates for the matter. . . .”
                                                     12
   #83406408_v3
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 13 of 17




   stated above, this was a matter involving complex issues of jurisdiction, federal and state

   law, as well as a claim for injunctive relief in the original complaint. Due to the nature of

   the expedited work and immediate need for representation, the fees are particularly

   reasonable.9 Holland & Knight drafted not one but two motions to dismiss as well as a

   Response to Plaintiff’s Motion to Compel Arbitration and Stay Proceedings Pending the

   Completion of Arbitration.

             Importantly, Holland & Knight has not sought any recovery for fees that were not

   billed and actually paid. A billing partner for the case reviews time entries each month to

   ensure accurate time entries for required tasks, and time has been written down where

   appropriate. These invoices have been reviewed in detail by undersigned counsel and all

   time entries not part of this fee request have been redacted.10

             Given the reasonable rates charged and the reasonable hours expended in mounting a

   defense to IS Risk's baseless claims, the fees that are being sought for recovery in this matter

   are reasonable and recoverable under the lodestar test.

         C. Analysis of Costs Being Sought for Recovery

             In addition to the fees discussed above, Mr. Anees seeks recovery of $402 in costs.

   These costs were reasonable and necessary to the litigation and consists of the fee for

   removal of the action to federal court. The Restraint on Trade Statute specifically allows

   the recovery of costs, Fla. Stat. § 542.335( l )(k), as does Florida Statute § 57.041; see also

   Mobile Shelter Syst. USA, Inc. v. Grate Pallet Solutions, LLC, No. 3:10-cv-978- J-37JBT 2013



   9
    A significant amount of work and review was also performed by TF Aust’s General Counsel and
   Paralegal, however, no reimbursement is being sought for this time.
   10
        Certain time entries are redacted in part on the grounds of attorney-client privilege.
                                                       13
   #83406408_v3
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 14 of 17




   WL 3815595 * 4 (M.D. Fla. July 22, 2013) (awarding both fees and costs pursuant to §

   542.335(1)(k)); Tesla Electric, Armature and Machine, Inc. v. JLM Advanced Technical

   Servs., Inc., 128 So. 3d 865 , 866 (Fla. 1st DCA 2013) (requiring the award of costs under

   the plain language of the statute).

           Federal law also allows for recovery of costs pursuant to 28 U.S.C. § 1920. In this

   action, the fees of the clerk for the cost of filing the removal action are recoverable under

   Section 1920(1).

                                            CONCLUSION

           Mr. Anees prevailed on all claims and issues with dismissal of the action by Plaintiff, and

   is entitled to recover his reasonable fees and costs under the Florida Noncompete Statute as

   discussed above. Furthermore, as documented by the attached exhibits, all fees and costs being

   sought for recovery in this action were reasonable and necessary to Mr. Anees’ defense of all

   aspects of this case to the time of dismissal. Therefore, this Court should grant Mr. Anees an

   award of fees and costs in the total amount of $42,653.00.



                                   VERIFICATION OF MOTION

           The undersigned counsel, Matthew Zimmerman, is a Partner with the law firm of Holland

   & Knight LLP, and has personal knowledge of the matters set forth herein. He has read the Motion

   and all Exhibits and states the facts alleged and set forth herein are verified and correct. Further,

   he has fully reviewed the records, and the supporting data on which the motion is based.

   Undersigned counsel certifies that the motion is well grounded in fact and justified.




                                                    14
   #83406408_v3
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 15 of 17




                    CERTIFICATE OF GOOD FAITH MEET AND CONFER

           Pursuant to Local Rules 7.3(a)(8) and 7.3(b), I hereby certify that counsel for the movant,

   Phil Rothschild, made a good faith effort to resolve issues by agreement by engaging in an

   extensive meet and confer process over a period of six weeks with Plaintiff’s counsel. See

   Composite Exhibit C. While Plaintiff opposes the entitlement to fees, the parties nonetheless

   engaged in an effort to attempt to resolve issues of hourly rates and reasonable hours. Those efforts

   were not successful, with Plaintiff contending that hourly rates for Attorneys Zimmerman,

   Rothschild, and Oakes, should be $420, $375 and $350, respectively, rather than the rates of $625,

   $460, and $410 sought in this Motion. As to reasonable hours, as listed in the spreadsheet that is

   part of Composite Exhibit C at page 8, Plaintiff objected to certain specific hours totaling 35.1

   hours. Defendant contends that all of that time is properly awarded and reasonable, but even if the

   Court agrees with any of Plaintiff’s specific objections, as explained in the meet and confer emails

   in Composite Exhibit C, those time entries should be reduced, not eliminated completely. As to

   the remaining 51.7 hours, Plaintiff contends that some of those hours was duplicative or excessive

   and should be reduced, but did not specify which ones. See Exhibit C.


           WHEREFORE, Defendant Anees respectfully requests that this Court should grant the

   foregoing Motion, and award Mr. Anees fees and costs in the total amount of $42,653.00, and

   allow Mr. Anees leave to file a supplemental motion seeking fees incurred for the drafting and

   filing of the entitlement portions of the Motion.


   Dated: April 1, 2021                          Respectfully Submitted,

                                                 HOLLAND & KNIGHT LLP

                                                 /s/ Matthew Zimmerman
                                                 Matthew Zimmerman
                                                 Fla. Bar No. 11484
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   #83406408_v3
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 16 of 17




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                                                Attorneys for Defendant Nauman Anees


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 1st day of April, 2021, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

   is being served this day on all counsel of record on the attached Service List via transmission of

   Notices of Electronic Filing generated by CM/ECF or by electronic mail.

                                                /s/ Philip E. Rothschild
                                                Fla. Bar No. 0088536


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                                                  16
   #83406408_v3
Case 9:20-cv-82227-DMM Document 22 Entered on FLSD Docket 04/01/2021 Page 17 of 17




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